
692 S.E.2d 626 (2010)
STATE of North Carolina
v.
Jerry David REEDER.
No. 384P09.
Supreme Court of North Carolina.
January 28, 2010.
Jerry David Reeder, pro se.
Latoya B. Powell, Assistant Attorney General, for State of North Carolina.

ORDER
Upon consideration of the petition filed by Defendant on the 21st of September 2009 in this matter for a writ of certiorari to review the order of the Superior Court, Randolph County, the following order was entered and is hereby certified to the Superior Court of that County:
"Dismissed by order of the Court in conference, this the 28th of January 2010."
Upon consideration of the petition filed by Defendant on the 21st of September 2009 in this matter for a writ of certiorari to review the order of the North Carolina Court of Appeals, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Dismissed by order of the Court in conference, this the 28th of January 2010."
